






Opinion issued June 21, 2007

								





					 









In The

Court of Appeals

For The

First District of Texas

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NO. 01-07-00467-CR

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IN RE JOHN PATRICK WINTERS, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION

	Relator John Patrick Winters requests that this Court compel respondent 
to make ruling on relator's motion for nunc pro tunc.  Relator contends that he is
entitled to jail time credit that he demanded from respondent and that respondent
refused.

	We deny the petition for writ of mandamus.  We first observe that the
granting of credit for jail time has historically been accomplished by post-conviction
writ of habeas corpus.  See Tex. Code Crim. P. Ann. art. 11.07 (Vernon 2006); Ex
parte Dunn, 976 S.W.2d 208 (Tex. Crim. App. 1998).

	In addition, there are three prerequisites for the issuance of a writ of
mandamus by an appellate court, namely:  (1) the lower court must have a legal duty
to perform a nondiscretionary act; (2) the relator must make a demand for
performance; and (3) the subject court must refuse that request.  Barnes v. State, 832
S.W.2d 424, 426 (Tex. App.--Houston [1st Dist.] 1992, orig. proceeding).  Relator
has not provided us with a record that shows that he made any request of the
respondent to perform a nondiscretionary act that respondent refused.

	The petition for writ of mandamus is therefore denied.

	It is so ORDERED.

PER CURIAM


Panel consists of Justices Taft, Jennings, and Keyes.


